Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                          Document     Page 1 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                          Document     Page 2 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                          Document     Page 3 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                          Document     Page 4 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                          Document     Page 5 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                          Document     Page 6 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                          Document     Page 7 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                          Document     Page 8 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                          Document     Page 9 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 10 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 11 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 12 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 13 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 14 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 15 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 16 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 17 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 18 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 19 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 20 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 21 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 22 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 23 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 24 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 25 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 26 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 27 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 28 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 29 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 30 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 31 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 32 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 33 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 34 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 35 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 36 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 37 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 38 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 39 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 40 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 41 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 42 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 43 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 44 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 45 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 46 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 47 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 48 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 49 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 50 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 51 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 52 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 53 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 54 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 55 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 56 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 57 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 58 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 59 of 60
Case 21-12153   Doc 30   Filed 11/16/21 Entered 11/16/21 09:40:25   Desc Main
                         Document      Page 60 of 60
